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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge Raymond P. Moore

  Civil Action No. 19-cv-02588-RM-SKC

  JAMES PATTON,

         Plaintiff,

  v.

  CENTURY CHEVROLET,
  FIRST FIDELITY BANK,
  EQUIFAX INFORMATION SERVICES,
  TRANSUNION, LLC, and
  EXPERIAN,

        Defendants.
  ______________________________________________________________________________

                                     ORDER
  ______________________________________________________________________________

         This matter is before the Court on Plaintiff’s Motion for Voluntary Dismissal of Claims

  Against Defendants Experian Information Solutions, Inc. and Transunion, LLC Under Federal

  Rule of Civil Procedure 41(a)(2), which is unopposed. (ECF No. 102.) As set forth in the

  motion, these Defendants have agreed to the voluntary dismissal without prejudice of the claims

  against them under the condition that the time period for Plaintiff’s claims as set forth in the

  statute of limitations, 15 USC § 1681p, will be tolled for a period of six months after the date of

  the motion, which was filed on October 22, 2020. The motion is GRANTED.

         DATED this 5th day of November, 2020.

                                                        BY THE COURT:



                                                        ____________________________________
                                                        RAYMOND P. MOORE
                                                        United States District Judge
